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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
    v.                                           )         Crim. No. 1:19-cr-148
                                                 )
                                                 )
PRAKAZREL MICHEL,                                )
LOW TAEK JHO                                     )

                         JOINT NOTICE OF STIPULATIONS

    The government and the defendant provide notice of the following stipulations for trial:

    1. The government and the defense stipulate that the following exhibits are authentic

         under Federal Rule of Evidence 901 and constitute records of a regular conducted

         activity under Federal Rule of Evidence 803(6).

            a. Domestic Bank Records: Gov. Ex. 1-7; 9-10; 12-14; 16-17; 26-53; 56-64; 67-
               99; 192; 197-98; 249; 370; 382; 424; 437; 456; 473; 513-517; 526; 554-556;
               570; 591-597; 651; 655-657; 662-663; 694; 731; 733.

            b. Domestic Phone Records: Gov. Ex. 54-55; 111; 190; 193; 195; 217; 224; 233-
               34; 244; 247; 289; 295-96; 298; 441; 527; 540-547; 559-564; 566; 586-587;
               589; 659.

            c. Domestic Travel Records: Gov. Ex. 440; 502; 551.

    2. The government and the defense stipulate that the following exhibits are authentic

         under Federal Rule of Evidence 901 and constitute public records under Federal Rule

         of Evidence 803(8).

            a. Records of the Federal Election Commission: Gov. Ex. 235-239; 242-243;
               245-246; 252-253; 267; 518; 520-521; 567-568; 584-585; 686-693.

    3. The government and the defense stipulate that the following exhibits are admissible

         as summaries under Federal Rule of Evidence 1006.

            a. Gov. Ex. 270; 548-550; 600-601; 664; 666-680.



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      4. The government and the defense stipulate that City National Bank, Morgan Stanley,

         and Citibank all had accounts insured by the Federal Deposit Insurance Corporation

         throughout 2017.



                                              Respectfully submitted,



/s/ David Kenner                                 COREY R. AMUNDSON
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will serve counsel for the Defendant via

electronic notification.



Dated: March 24, 2023                                    /s/ John D. Keller
                                                         John D. Keller




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